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Exhibit 6
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DEEPWATER HORIZON
CLAIMS CENTER

ECONOMIC & PROPERTY DAMAGE CLAIMS

INITIAL PROPOSAL FORM

DATE OF NOTICE OF BP APPEAL: April 23, 2013
DEADLINE TO SUBMIT INITIAL PROPOSAL FORM: May 8, 2013

I, CLAIMANT AND CLAIM INFORMATION

. Last/Name of Business First Middle
Claimant Name ROCON INC
Claimant ID 100002412 Claim ID 1779
Claim Type Business Economic Loss
Law Firm E.J. Saad Law Firm

II. INITIAL PROPOSAL AMOUNT

the Notice of BP Appeal.

Both parties must submit an Initial Proposal. Enter the value you are proposing as the new Compensation Amount,
RTP Multiplier, and/or Prior Payment Offset for the claim. Your Initial Proposal RTP Multiplier should not be a dollar
amount, but the factor to be multiplied by the Compensation Amount for certain claim types. The sum is the RTP
and is added to the Compensation Amount. Your Initial Proposal Compensation Amount should be the new
Compensation Amount you are proposing for the claim. The Settlement Agreement defines Compensation Amount
as the “amount awarded to the claimant prior to the addition of any RTP.” Accordingly, we will increase any
accepted Initial Proposal Compensation Amount by the applicable RTP, if any, and also decrease any accepted Initial
Proposal Compensation Amount by any applicable offsets. If we have received notice of any outstanding lien, we
will also deduct that applicable amount from the Award Amount. The Compensation Amount, RTP Multiplier, and/or
Prior Payment Offset listed on your Eligibility Notice will be considered your Initial Proposal for any field left blank.

If either party accepts the other’s Initial Proposal, the Appeals Process will end. If neither party accepts the other’s
Initial Proposal, and you do not reach a compromise, you must submit a Final Proposal within the deadline listed on

Initial Proposal Compensation $142,576.07
Amount ‘
Initial Proposal 0.25
RTP Multiplier
Initial Proposal

2 52
Prior Payment Offset 28,7005

III. CLAIMANT HOME STATE SELECTION

Select your home state. If you do not live in one of these five states, select the state where your injury occurred.

KK Alabama O Florida O Louisiana 0 Mississippi O Texas
IV. SIGNATURE
Signature s/ William D Robinson Date oa on Hel eu
Last Name First Name Middle Initial

Printed Name Robinson William D

Title (if a President

business)

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Vv. HOW TO SUBMIT THIS FORM

submit this form in any of the following ways:

Submit your Initial Proposal Form online using the DWH Portal. If you do not use the DWH Portal, you may

By Mail
(Postmarked no later than your Initial Proposal deadline)

Deepwater Horizon Economic Claims Center
PO Box 1439
Hammond, LA 70404-1439

By Overnight, Certified or Registered Mail

(If mail, postmarked no later than your Initial Proposal deadline; if
other overnight delivery, placed in the custody of an overnight carrier
by your Initial Proposa! Deadline)

Deepwater Horizon Economic Claims Center
Claims Administrator

42548 Happy Woods Road

Hammond, LA 70403

By Facsimile
(Sent no later than 12:00 midnight local time on your Initial Proposal
deadline)

(888) 524-1583

By Email
(Sent no later than 12:00 midnight local time on your Initial Proposal
deadline)

ClaimForms@deepwaterhorizoneconomicsettlement.com

Visit a Claimant Assistance Center
(Delivered no later than your Initial Proposal deadline)

You may take the required information or documents to a
Claimant Assistance Center.

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